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                             UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF ARKANSAS
                                   CENTRAL DIVISION


 LESLIE BARTOLOMEI

            Plaintiff,
                                                    No. 4:20-cv-271-BRW
                v.
                                                    NOTICE OF CONSTITUTIONAL
 NATIONAL REPUBLICAN                                CHALLENGE OF STATUTE UNDER
 CONGRESSIONAL COMMITTEE, et al.                    FED. R. CIV. P. 5.1(a)

            Defendants.


            NATIONAL REPUBLICAN CONGRESSIONAL COMMITTEE’S
            NOTICE OF CONSTITUTIONAL CHALLENGE OF STATUTE

       Pursuant to Fed. R. Civ. P. 5.1(a), Defendant, the National Republican Congressional

Committee (“NRCC”), respectfully files this Notice of Constitutional Challenge of Statute with

the Court. In support thereof, the NRCC states as follows:

       1.      An action was instituted by a Plaintiff alleging violations of the Telephone

Consumer Protection Act (“TCPA”), 47 U.S.C. §§ 227, et seq.

       2.      A Complaint was filed on March 13, 2020, ECF No. 1, and an Amended Complaint

was filed on March 27, 2020, ECF No. 4.

       3.      On May 4, 2020, the NRCC filed a Motion to Dismiss Plaintiff’s Amended

Complaint, ECF No. 9, 10, which asserts, inter alia, that the TCPA’s government debt exception

is an unconstitutional content-based speech restriction that is not severable from the statute as a

whole and that the TCPA in unconstitutional as-applied to the NRCC.




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       4.      Rule 5.1(a) of the Federal Rules of Civil Procedure provides that:

       A party that files a pleading, written motion, or other paper drawing into question
       the constitutionality of a federal or state statute must promptly: (1) file a notice of
       constitutional question stating the question and identifying the paper that raises it,
       if: (A) a federal statute is questioned and the parties do not include the United States,
       one of its agencies, or one of its officers in an official capacity.

       5.      Furthermore, Rule 5.1(a)(2) requires service of “the notice and paper” on the

Attorney General of the United States by certified or registered mail. Fed. R. Civ. P. 5.1(a)(2).

       6.      Upon receipt of the Notice, the Court “must, under 28 U.S.C. § 2403, certify to the

appropriate attorney general that a statute has been questioned.” Fed R. Civ. P. 5.1(b).

       7.      The Attorney General of the United States will have 60 days from receipt of the

Notice to intervene in this matter. Fed. R. Civ. P. 5.1(c); 28 U.S.C. § 2403(a).

       8.      In compliance with Rule 5.1(a)(2), Defendant will serve the Attorney General of

the United States with a copy of this as-filled Notice and the Motion to Dismiss via certified mail.

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                                               *pro hac vice motions to be filed

                                               And

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                                           Attorneys for National Republican Congressional
                                           Committee


                               CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 5th day of May, 2020, a copy of the following documents:

Notice of Constitutional Challenge of Statute, Plaintiff’s Amended Complaint, Motion to Dismiss

Plaintiff’s Amended Complaint; and Memorandum in Support of Motion to Dismiss Plaintiff’s

Amended Complaint were sent certified mail, postage paid to:


William Barr
Attorney General of the United States
U.S. Department of Justice
950 Pennsylvania Avenue
NW Washington, DC 20530-0001




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